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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IQS INSURANCE RISK RETENTION MAGISTRATE: DEK

GROUP, INC., ET AL.

JUDY WILLIAMS AND MARY WADE * CIVIL ACTION NO.: 18-2472
ic
VERSUS * SECTION: JCZ
ic
IQS INSURANCE RISK RETENTION * MAGISTRATE: DEK
GROUP, INC. ET AL. *
ic
c/w *
ic
LUCINDA THOMAS * CIVIL ACTION NO.: 18-6113
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VERSUS * SECTION: JCZ
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REPLY MEMORANI)UM IN SUPPORT
OF` MOTION TO COMPEL AND SET DEPOSITI()N FEE

Defendants, Southern Refrigerated Transport, Inc. (“SRT”), IQS Insurance Risk
Retention Group, Inc. and Eric Darnell l\/Iartin, take this opportunity to briefly reply to the
opposition filed by Dr. Peter Liechty to their Motion to Compel and Set Deposition Fee.

I. DEFENDANTS NEVER AGREED To DR. LIECHTY’s FEES

First and foremost, Dr. Liechty’s allegation that Defendants somehow agreed to the
exorbitant amount of his deposition fee is completely false and misleading Here, Dr. Liechty is
seeking pre-payment of $7,500.00 for just three hours of deposition testimony. Defendants never
agreed, and Would never agree, to such an unreasonably high fee.

The only apparent support for this false allegation by Dr. Liechty is an email from the
undersigned’s paralegal to Dr. Liechty’s office simply inquiring Whether payment is required in

advance of the deposition or should be brought to the deposition. This is a standard question that

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the undersigned’s paralegal asks of every single expert witness prior to seeking client approval
for payment lt certainly does not, and cannot, constitute any agreement whatsoever by
Defendants to pay the unreasonable deposition fee sought by Dr. Liechty. ln fact, the
undersigned’s paralegal does not even have authority to enter into any such agreement

Had Defendants actually agreed to the amount of Dr. Liechty’s fee, as he falsely alleges,
Defendants would not have issued a subpoena for his attendance and there would be no need for
the instant motion at all. Obviously that is not the case. Once the undersigned learned of Dr.
Liechty’s unreasonable fees a subpoena was issued. Dr. Liechty’s allegations completely lack
merit.
II. DEFENDANTS’ ONLY NoTiCED ONE DEPosITloN oF DR. LIECHTY

Surprisingly, Dr. Liechty further argues that Defendants never indicated that they wanted
to take only one deposition This is also not correct. Defendants only issued one notice of
deposition in this matter and only one deposition is needed of Dr. Liechty. However, Dr. Liechty
is intentionally imposing an unreasonable and undue burden on Defendants in this case by
refusing to give one deposition and improperly inflating his costs. This should not be permitted

Dr. Leichty is not entitled to dictate how many depositions he will give in this case or
limit his testimony to one Plaintiff per hour so that he can unreasonably force Defendants to pay
such an exorbitant amount of fees. For example, Dr. Leichty only saw one of the Plaintiffs
(Lucinda Thomas) twice and he did not perform her surgery. Defendants certainly should not be
required to pay Dr. Leichty $2,500.00 for testimony concerning Lucinda Thomas when there will
likely only be a few questions to answer concerning her two visits. Dr. Liechty’s should be

compelled to attend one deposition and offer testimony concerning all three Plaintiffs.

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III. THE DEPosiTIoN wAs CANCELLED BY DR. LiECHTY, NoT DEFENDANTS

Surprisingly, Dr. Liechty is now apparently seeking to impose yet another unreasonable
and undue financial burden on Defendants in this case by falsely accusing Defendants of
cancelling his deposition. This is outrageous

Defendants certainly did not cancel the deposition-it was unilaterally cancelled by Dr.
Liechty. Both the undersigned and Plaintiffs’ counsel appeared at Dr. Liechty’s office for his
deposition as scheduled Dr. Liechty was also present at his office. Dr. Liechty’s office manager
inquired about the fee and was advised that Defendants’ would request that the Court set his fee.
At that point, Dr. Liechty’s office manager consulted with Dr. Liechty and advised that the
deposition was being cancelled and Dr. Liechty refused to make an appearance

ln fact, an email attached to Dr. Liechty’s opposition specifically shows that Dr. Liechty
cancelled the deposition.l Dr. Liechty is not entitled to be unjustly enriched by a cancellation fee
of $l,OO0.0() when he was the one who cancelled the deposition. There is no contractual or legal
support for such a charge.
IV. DR. LiECHTY’s DEPosiTioN FEE is HiGHLY UNREAsoNABLE

Finally, without any support whatsoever, Dr. Liechty also argues that his deposition fee
($7,500 for three hours) is not out of the norm for a neurosurgeon in this area. This argument
completely lacks merit. Rather than offering any actual documentary evidence to support his
argument, Dr. Liechty’s opposition simply states that the cases cited by Defendants concerning
hourly rates are “outside the jurisdiction of this court.” There is no reason why Dr. Liechty’s
fees, or the fees of any other neurosurgeon in the New Orleans area, would be $2,000 higher

than the fees which were considered to be reasonable in the numerous cases cited by Defendants

 

l See email dated October 8, 2018 from Eric Stine, Dr. Liechty’s office manager, to Charlotte
Meade, stating “we cancelled due to their nonpayment,” attached as Exhibit l to Dr. Liechty’s Opposition.

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in their motion. In fact, Dr. Joseph Zavatsky, the surgeon who operated on Lucinda Thomas,
charges $2,50() for the first two hours of deposition testimony ($l,250.00 per hour) and
$1,500.00 per hour beyond the first two hours.2 Although Dr. Zavatsky’s fees are also high, they
are much less than the exorbitant fee of $7,500.00 sought by Dr. Liechty in this case for just
three hours.
CoNCLUsioN

Mediation is scheduled in this case for November 9, 2018. If Defendants cannot obtain
Dr. Liechty’s testimony before that date, mediation will likely be cancelled and the parties will
have been prevented from possibly reaching an amicable resolution. At a minimum, Dr. Leichty
is seeking pre-payment of $7,500.00 for just three hours of deposition testimony in this case.
Defendants have not, and will not agree to such an unreasonable fee. Dr. Liechty’s attempt to
force Defendants to pay such an exorbitant amount is extremely prejudicial and unduly
burdensome

Federal Rule of Civil Procedure 26(b)(4)(E)(i) does not require prepayment of the
experts’ reasonable fees before their deposition. ln fact, the reasonableness of an expert’s
requested hourly rate cannot even be determined until the expert’s experience and qualifications
have been explored in a deposition As such, Defendants pray that this Honorable Court grant
its Motion to Compel and Set Deposition Fee prior to the upcoming mediation in this matter that
is set for November 9, 2018, and to also provide a process to address the question of

reasonableness following Dr. Leichty’s deposition.

 

2 See lnvoice from Spine & Scoliosis Specialists sent to the undersigned pertaining to the deposition of Dr. Joseph
Zavatsky, attached hereto as Exhibit A.

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Respectfully submitted,

GALLOWAY, JOHNSON, TOMPKINS,
BURR & SMITH, APLC

/s/ C. Bowman Fe!zer, Jr.
JAMES A. PRATHER (#20595) (T.A.)
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Counsel for Defendants

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the llth day of October, 2018, undersigned electronically
filed the foregoing with the Clerk of Court by using the CM/ECF system which will send notice

of electronic filing to all counsel of record.

/s/ C. Bowman Ferzer, Jr.
C. BOWMAN FETZER, JR.

